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                 4    d.bradley@musickpeeler.com
                 5
                   Attorneys for Defendant PENNSYLVANIA HIGHER
                 6 EDUCATION ASSISTANCE AGENCY
                 7
                 8
                 9                                   UNITED STATES DISTRICT COURT
             10               NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
             11
             12 CHRISTIAN WELLISCH,                                   Case No. 7:22-cv-06897
             13
                                         Plaintiff,                   NOTICE OF REMOVAL OF
             14                                                       ACTION UNDER 28 U.S.C. §§1332
                                 vs.                                  AND 1441(b) [DIVERSITY
             15
                                                                      JURISDICTION]; DECLARATION
             16 PENNSYLVANIA HIGHER                                   OF DONALD E. BRADLEY
             17 EDUCATION ASSISTANCE
                AGENCY and DOES 1-100,
             18
             19          Defendants.

             20
             21 TO THE CLERK OF THE UNITED STATES DISTRICT COURT AND TO
             22 PLAINTIFF:
             23                  PLEASE TAKE NOTICE THAT Defendant Pennsylvania Higher Education
             24 Assistance Agency1 (“PHEAA” or “Defendant”) hereby removes the above-entitled
             25 action from the Superior Court of the State of California for the County of
             26
             27      1
                  PHEAA is a statutorily created instrumentality of the Commonwealth of
             28 Pennsylvania. 24 P.S. §§5101-5199.9.
MUSICK, PEELER       2029904.1
& GARRETT LLP
                         NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §§1332 AND 1441(b) [DIVERSITY JURISDICTION];
                                                DECLARATION OF DONALD E. BRADLEY
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                 1 Monterey, Case No. 22CV002077 to the United States District Court, Northern
                 2 District of California, pursuant to 28 U.S.C. §§1332 and 1441, et seq. Removal is
                 3 proper for the following reasons:
                 4 I.            INTRODUCTION
                 5               1.   On July 18, 2022, Plaintiff Christian Wellisch (“Plaintiff”) filed a
                 6 Complaint against Defendant PHEAA in the Superior Court of California, County of
                 7 Monterey, entitled Christian Wellisch v. Pennsylvania Higher Education Assistance
                 8 Agency, Case No. 22CV002077 (the “State Action”). A copy of the Complaint in
                 9 the State Action is attached as Exhibit A.
             10                  2.   On November 3, 2022, PHEAA filed an answer to Plaintiff’s
             11 Complaint. A copy of the Answer in the State Action is attached as Exhibit B.
             12                  3.   A copy of the current docket from the State Action is attached hereto as
             13 Exhibit C. PHEAA will supplement the Court’s file once copies of all documents
             14 have been received.
             15                  4.   As explained below, there is complete diversity of citizenship between
             16 Plaintiff and PHEAA, and the amount in controversy in this action exceeds the
             17 $75,000 jurisdictional minimum.
             18 II.              THIS REMOVAL NOTICE IS TIMELY
             19                  5.   PHEAA was served with the Verified Complaint and Summons on
             20 October 6, 2022. (The Summons is attached as Exhibit D.)
             21                  6.   Pursuant to 28 U.S.C. §1441(b), “[the] Notice of Removal of a civil
             22 action or proceedings shall be filed within thirty days after receipt by the Defendant,
             23 through service or otherwise, of a copy of the initial pleading.”
             24                  7.   Thirty days from the initial date of service on PHEAA is November 5,
             25 2022, which is a Saturday. Per FRCP 6, this removal is due the first business day
             26 thereafter, or November 7, 2022. As this notice is being filed by November 4, 2022,
             27 PHEAA’s Notice of Removal is timely.
             28
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                      NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §§1332 AND 1441(b) [DIVERSITY JURISDICTION];
                                             DECLARATION OF DONALD E. BRADLEY
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                 1 III.          DIVERSITY JURISDICTION LIES OVER THIS ACTION
                 2               8.    This is a civil action over which this Court has original jurisdiction
                 3 under 28 U.S.C. §1332, and is one which may be removed to this Court by PHEAA
                 4 pursuant to 28 U.S.C. §1441(b).
                 5               9.    Defendant is informed and believes that Plaintiff was and still is a
                 6 citizen of the State of California. Per Paragraph 1 of the State Action Complaint,
                 7 Plaintiff is a resident of Monterey County, California.
                 8               10.   PHEAA is a statutorily created instrumentality of the Commonwealth
                 9 of Pennsylvania and has its principal place of business in Harrisburg, Pennsylvania.
             10 IV.              THE AMOUNT IN CONTROVERSY EXCEEDS $75,000
             11                  11.   The allegations in Plaintiff’s Verified Complaint, coupled with the
             12 available facts surrounding Plaintiff’s claims, demonstrate that the amount in
             13 controversy exceeds $75,000, exclusive of interests and costs. Plaintiff alleges
             14 causes of action for abusive loan servicing, failure to respond to qualified written
             15 request, failure to respond to request under state militia protections, negligence, and
             16 intentional interference with prospective economic advantage arising out of his
             17 student loans serviced by PHEAA. (See Exhibit A.)
             18                  12.   The prayers in Plaintiff’s Complaint fail to allege a specific monetary
             19 figure as damages. However, the factual allegations of the Complaint and the
             20 Complaint’s exhibits confirm that Plaintiff’s damage claim exceeds $75,000.
             21                  13.   Paragraph 50 of Plaintiff’s Complaint (Page 18, Line 8), within his first
             22 cause of action under California Civil Code Section 1788.100 et seq., claims
             23 entitlement to and a demand for treble damages. The previous paragraph, Paragraph
             24 49 (Page 17, Lines 26-28) references demand letters sent in October and December
             25 of 2021 to support his damage claims. Those letters are attached as Exhibits E and I
             26 to his Complaint. Other than the dates, the substantive allegations of these exhibits
             27 are identical, and include damage claims (at Heading 2 on Page 1) of $32,398.54
             28 and “a lump sum of $25,000.” Combined, the damage claim in these exhibits is
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                 1 $57,398.54. Trebling this damage claim under Plaintiff’s first cause of action (and
                 2 others) results in a total damage claim of at least $172,195.62. This figure easily
                 3 exceeds the $75,000 minimum for diversity jurisdiction.
                 4               14.   Therefore, as there is complete diversity of citizenship and the amount
                 5 in controversy exceeds $75,000, this Court has original jurisdiction over the case
                 6 under 28 U.S.C. §1332(a).
                 7 V.            THE OTHER REMOVAL PREREQUISITES HAVE BEEN SATISFIED
                 8               15.   PHEAA has sought no similar relief with respect to this matter.
                 9               16.   Written notice of the filing of this Notice of Removal will be given to
             10 Plaintiff and filed in the State Action as required by 28 U.S.C. §1446(d).
             11                  17.   Pursuant to 28 U.S.C. §1446(a), Exhibits A, B, C, and D, and the
             12 documents PHEAA will file as a supplement, consist of all process, pleadings, and
             13 orders in the State Action.
             14                  18.   The allegations of this Notice are true and correct and this case is
             15 within the jurisdiction of the United States District Court for the Northern District of
             16 California.
             17
             18 DATED: November 4, 2022                        MUSICK, PEELER & GARRETT LLP
             19
             20
                                                               By:
             21
                                                                     Donald E. Bradley
             22                                                      Attorneys for Defendant Pennsylvania
             23                                                      Higher Education Assistance Agency

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                 1                          DECLARATION OF DONALD E. BRADLEY
                 2               I, Donald E. Bradley, declare as follows:
                 3               1.    I am an attorney at law, duly licensed to practice in all courts of the
                 4 State of California, and I am a partner in the law firm of Musick, Peeler & Garrett
                 5 LLP, attorneys of record herein for Defendants Pennsylvania Higher Education
                 6 Assistance Agency (“PHEAA). I have personal knowledge of the facts set forth
                 7 herein, except where stated on information and belief, and, if called as a witness, I
                 8 could and would competently testify thereto.
                 9               2.    Attached hereto as Exhibit A is a complete and accurate copy of
             10 Plaintiff’s Verified Complaint in the State Action.
             11                  3.    Attached hereto as Exhibit B is a complete and accurate copy of
             12 Defendant’s Answer in the State Action.
             13                  4.    Attached hereto as Exhibit C is a complete and accurate copy of the
             14 current docket in the State Action.
             15                  5.    Attached hereto as Exhibit D is a complete and accurate copy of the
             16 Summons in the State Action.
             17                  I declare under penalty of perjury pursuant to the laws of the United States of
             18 America and the State of California that the foregoing is true and correct. Executed
             19 this 4th day of November, 2022, at Costa Mesa, California.
             20
             21
             22                                                                Donald E. Bradley
             23
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             28
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                 1                                  PROOF OF SERVICE
                 2
                     STATE OF CALIFORNIA, COUNTY OF ORANGE
                 3
                         At the time of service, I was over 18 years of age and not a party to this action.
                 4
                   I am employed in the County of Orange, State of . My business address is 650 Town
                 5 Center Drive, Suite 1200, Costa Mesa, CA 92626-1925.
                 6
                      On November 4, 2022, I served true copies of the following document(s)
              7 described as NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §§1332
              8 AND 1441(b) [DIVERSITY JURISDICTION]; DECLARATION OF DONALD
                E. BRADLEY on the interested parties in this action as follows:
              9
             10                            Christian Wellisch
                                           P.O. Box 222732
             11                            Carmel, CA 93922
             12                            Email: Christian@WellischLaw.com
                                           Plaintiff in Pro Per
             13
             14      BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of the
                      document(s) to be sent from e-mail address a.yusay@musickpeeler.com to the
             15       persons at the e-mail addresses listed in the Service List. I did not receive,
             16       within a reasonable time after the transmission, any electronic message or other
                      indication that the transmission was unsuccessful.
             17
             18      BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
                      the document(s) with the Clerk of the Court by using the CM/ECF system.
             19       Participants in the case who are registered CM/ECF users will be served by the
             20       CM/ECF system. Participants in the case who are not registered CM/ECF users
                      will be served by mail or by other means permitted by the court rules.
             21
             22       I declare under penalty of perjury under the laws of the United States of
                America that the foregoing is true and correct and that I am employed in the office of
             23 a member of the bar of this Court at whose direction the service was made.
             24
                      Executed on November 4, 2022, at Costa Mesa, California.
             25
             26
             27                                                   April Yusay
             28
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& GARRETT LLP
                     2029904.1                                   6
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